Case 4:21-cv-00579-P Document 95 Filed 10/27/21    Page 1 of 17 PageID 1461



                         United States District Court
                          Northern District of Texas
                             Fort Worth Division
 STATE OF TEXAS,
    Plaintiff,
 v.                                           Case 4:21-cv-00579-P
 JOSEPH R. BIDEN, JR., et al.;
    Defendants.



         Brief in Opposition to Defendants’ Motion to Disqualify



 KEN PAXTON                         AARON F. REITZ
 Attorney General of Texas          Lead Counsel
                                    Deputy Attorney General for Legal Strategy
 BRENT WEBSTER                      Texas Bar No. 24105704
 First Assistant Attorney General   aaron.reitz@oag.texas.gov
                                LEIF A. OLSON
 OFFICE OF THE ATTORNEY GENERAL Special Counsel
 P.O. Box 12548                 Texas Bar No. 24032801
 Austin, Texas 78711-2548       leif.olson@oag.texas.gov
 (512) 936-1700
                                    MATTHEW G. WHITAKER
 Counsel for the State of Texas
                                    Admitted pro hac vice
                                    America First Legal Foundation
                                    300 Independence Avenue SE
                                    Washington, D.C. 20003
                                    (202) 964-3721
                                    info@aflegal.org
Case 4:21-cv-00579-P Document 95 Filed 10/27/21                                  Page 2 of 17 PageID 1462




                                              Contents
 Introduction ........................................................................................... 1
 Background ............................................................................................ 1
 Summary of Argument......................................................................... 2
 Standard ................................................................................................. 3
 Argument ................................................................................................ 3
     A.             This Case Does Not Involve the Use of Confidential
                    Government Information. ................................................... 3
                    1.        The Governing Rules. ............................................... 3
                    2.        There Is No Confidential Information at Issue in
                              This Case. ................................................................. 5
          B.        This Case is Not the Same “Matter” for the Purposes of
                    the Rules. ............................................................................. 8
                    1.        The Governing Rules. ............................................... 8
                    2.        This Case is Not the Same “Matter.”..................... 10
          C.        Even if a Conflict Existed, the Remedy Would Involve
                    Screening Mr. Hamilton From Participation in the Case—
                    Not Disqualification of Mr. Whitaker or America First
                    Legal. ................................................................................. 11
 Conclusion ............................................................................................ 12




                                                           i
Case 4:21-cv-00579-P Document 95 Filed 10/27/21                                 Page 3 of 17 PageID 1463



                                          Table of Authorities


 Cases

 F.D.I.C. v. U.S. Fire Ins. Co., 50 F.3d 1304 (5th Cir. 1995) ............................... 3

 Flores v. Barr, No. CV-85-4544 (C.D. Cal.) ...................................................... 10

 G.Y.J.P v. Wolf, 1:20-cv-01511 (D.D.C.) ........................................................... 10

 In re Drake, 195 S.W.3d 232 (Tex. App. 2006) ................................................. 10

 In re ProEducation Int'l, Inc., 587 F.3d 296 (5th Cir. 2009) ............................. 3

 J.B.B.C. v. Wolf, No. 20-CV-1509 (D.D.C.) ....................................................... 10

 P.J.E.S. v. Wolf, No. 20-CV-2245 (D.D.C.) ....................................................... 10

 Smith v. Abbott, 311 S.W.3d 62 (Tex. App. 2010) .............................................. 8

 Tex. Civil Rights Project v. Wolf, 1:20-cv-02035 (D.D.C.) ................................ 10

 United States v. Philip Morris Inc., 312 F. Supp. 2d 27 (D.D.C. 2004) ............. 6

 United States v. Villaspring Health Care Ctr., Inc., No. 3:11-43-DCR, 2011
   WL 5330790 (E.D. Ky. 2011)........................................................................... 6

 Statutes

 18 U.S.C. § 207(c) ................................................................................................ 2

 42 U.S.C. § 265 .......................................................................................... 1, 5, 10

 8 U.S.C. § 1222 .............................................................................................. 5, 10

 Other Authorities

 ABA Formal Ethics Op. 97-409 at n. 7 (1997) ........................................ 4, 7, 8, 9

 Rules

 Model R. of Prof’l Conduct 1.11................................................................... 4, 8, 9




                                                          ii
Case 4:21-cv-00579-P Document 95 Filed 10/27/21                                 Page 4 of 17 PageID 1464



 Model R. of Prof’l Conduct 1.9(c)......................................................................... 5

 N.D. Tex. L.R. 836.8(e) ........................................................................................ 3

 Tex. Disciplinary R. Prof’l Conduct 1.05(a) ........................................................ 4

 Tex. Disciplinary R. Prof’l Conduct 1.05(b) ........................................................ 5

 Tex. Disciplinary R. Prof’l Conduct 1.10(a) .................................................... 4, 8

 Tex. Disciplinary R. Prof’l Conduct 1.10(b) ...................................................... 12

 Tex. Disciplinary R. Prof’l Conduct 1.10(c) ................................................ 3, 4, 8

 Tex. Disciplinary R. Prof’l Conduct 1.10(d) ...................................................... 12

 Tex. Disciplinary R. Prof’l Conduct 1.10(f) ............................................... 4, 9, 11

 Tex. Disciplinary R. Prof’l Conduct 1.10(g) .................................................... 4, 7

 Tex. Disciplinary R. Prof’l Conduct 1.10(h) ........................................................ 4

 Tex. Disciplinary R. Prof’l Conduct 1.10(i) ......................................................... 4

 Regulations

 42 C.F.R. § 71.40.................................................................................................. 1

 5 C.F.R. § 2641.201.................................................................................. 9, 10, 11

 5 C.F.R. § 2641.302.............................................................................................. 2

 85 Fed. Reg. 65,806–12 (Oct. 13, 2020) .............................................................. 1

 86 Fed. Reg. 42,828 (Aug. 5, 2021) ..................................................................... 1
 Case 4:21-cv-00579-P Document 95 Filed 10/27/21         Page 5 of 17 PageID 1465



                                   Introduction
   The State of Texas chose America First Legal Foundation to represent it in a case

challenging the federal government’s failure to faithfully execute the law at the

border in the middle of a pandemic. After six months of litigation and extensive

motion practice, the Defendants now ask this Court to disqualify America First Legal

and two of its lawyers, Gene Hamilton and Matt Whitaker, from that representation.

There is no factual or legal foundation for doing so, which would substantially

prejudice Texas. More, the Defendants’ logic would also disqualify nearly all

attorneys from working on subjects in which they used their expertise while in

government service, including challenges to unlawful acts by their former

government employers. That would be an absurd result, and the Court should deny

the Motion.

                                    Background

   This case primarily involves a group of enactments collectively referred to as Title

42: a nearly century-old statutory authority, 42 U.S.C. § 265; a regulation

promulgated to implement that authority, 42 C.F.R. § 71.40; and multiple orders

issued by the Director of the Centers for Disease Control and Prevention under that

authority, the latest in August 2021. 85 Fed. Reg. 65,806–12 (Oct. 13, 2020); 86 Fed.

Reg. 42,828 (Aug. 5, 2021) (“replacing and superseding” the October 2020 order).

   Among Texas’s counsel in this case are Mr. Hamilton and Mr. Whitaker, both of

whom served at the U.S. Department of Justice. Mr. Hamilton served as Counselor

to the Attorney General and provided legal advice and counsel for general

policymaking matters related to Title 42 during that time. Some of that work related

to other particular cases involving the Title 42 regime. Mr. Whitaker served as Chief

of Staff and Senior Counselor to the Attorney General and, later, as Acting Attorney

General. His service ended before the regulation and orders at issue in this case were



                                          1
    Case 4:21-cv-00579-P Document 95 Filed 10/27/21                   Page 6 of 17 PageID 1466



issued. There is no dispute that Mr. Hamilton signed the initial complaint, see ECF

No. 1, and that Mr. Whitaker has signed all subsequent documents for America First

Legal. 1

     The Defendants now seek to disqualify Mr. Hamilton, Mr. Whitaker, and America

First Legal from representing Texas in this case. They assert that “Mr. Hamilton’s

prior work related to the government’s exercise of Title 42 authority as a DOJ

attorney creates a conflict of interest;” that this disqualifies him from serving as

Texas’s counsel; and that, because he was not screened from participating in this

case, this disqualification is imputed to all lawyers at America First Legal, including

Mr. Whitaker. ECF No. 87 at 8.

                                     Summary of Argument
     The Defendants’ Motion does not justify the extreme remedy of denying Texas its

counsel of choice. This case does not involve the inappropriate use of confidential

information. This case is not the same as any “matter” in which Mr. Hamilton

participated while serving in the Department of Justice—particularly as the

definition of “matter” does not include regulation- or rule-making proceedings, which

are at the center of this case. And even if there were a cognizable conflict, the

appropriate remedy would be to screen Mr. Hamilton from America First Legal’s
representation. The Defendants’ Motion should be denied.




1    See 18 U.S.C. § 207(c) (restricting certain employees from making communications to or
     appearances before certain offices for one year after leaving service); 5 C.F.R. § 2641.302. Former
     employees may make communications to or appearances before certain offices within one
     Department, but the Department of Justice considers the restriction to come into effect when
     offices consult with other offices—such as when, for example, the Civil Division or a U.S. Attorney’s
     Office consults with a leadership office in the case. So, once such consultations occur, under
     Department of Justice policies, the restriction applies to any future communications to or
     appearances before the offices in question. And under that approach, that restriction prohibits Mr.
     Hamilton from submitting this opposition.


                                                    2
 Case 4:21-cv-00579-P Document 95 Filed 10/27/21           Page 7 of 17 PageID 1467



                                      Standard
   The Texas Disciplinary Rules of Professional Conduct primarily govern. See N.D.

Tex. L.R. 836.8(e); In re ProEducation Int'l, Inc., 587 F.3d 296, 299 (5th Cir. 2009).

Parties “cannot be deprived of the right to counsel of their choice on the basis of local

rules alone;” among other things, the “local rules are not the ‘sole’ authority governing

motions to disqualify counsel.” F.D.I.C. v. U.S. Fire Ins. Co., 50 F.3d 1304, 1312 (5th

Cir. 1995). “In light of the public interest and the litigants’ rights,” the Court’s

decision is also “governed by the ethical rules announced by the national profession,”

such as the ABA Model Rules of Professional Conduct. ProEducation, 587 F.3d at

299-300 (cleaned up).

                                      Argument

A. This Case Does Not Involve the Use of Confidential Government
   Information.

   The Defendants argue “Texas Disciplinary Rule 1.10 requires Mr. Hamilton’s

disqualification in this case because of his receipt of relevant confidential information

while a government attorney.” ECF No. 87 at 11-12. The Defendants are wrong. This

case does not involve the use of confidential government information under Texas

Rule 1.10, Texas Rule 1.05, or ABA Model Rule 1.9.

   1. The Governing Rules.
   A lawyer who has “confidential government information about a person or other

legal entity acquired when the lawyer was a public officer or employee may not

represent a private client whose interests are adverse to that person or legal entity.”

Tex. Disciplinary R. Prof’l Conduct 1.10(c). Information is “confidential government

information” only if it satisfies a two-part test. First, it must have “been obtained

under governmental authority[.]” Id. Second, the information must be something the

government is “prohibited by law from disclosing to the public or has a legal privilege




                                           3
    Case 4:21-cv-00579-P Document 95 Filed 10/27/21                    Page 8 of 17 PageID 1468



not to disclose, and which is not otherwise available to the public.” Id. 1.10(g)

(emphasis added).

     The ABA held that Model Rule 1.11(b)—the predecessor to current Model Rule

1.11(c), which also serves as the corollary to Texas Rule 1.10(c)—“protects adverse

third parties, but does not protect the government client itself against the use of

‘confidential government information’ against it by its former lawyers.” ABA Formal

Ethics Op. 97-409 at n. 7 (1997). This is so, because “the term ‘person’ in [the rule]

does not include the former government client, but refers only to third parties whom

the government lawyer may oppose on behalf of a private party after leaving

government service.” Id. (emphasis added). As noted above, the Texas Rule contains

the same prohibition, except it applies to “a person or other legal entity,” Tex.

Disciplinary R. Prof’l Conduct 1.10(c) (emphasis added), but does not describe a

government agency as a “legal entity.” Cf. Tex. Disciplinary R. Prof’l Conduct 1.10(a)

(using the term “government agency); 1.10(f)(2) (describing the conflict-of-interest

rules of “the appropriate government agency”); 1.10(h) (defining “Private Client” to

include a “government agency”). 2

     Texas Rule 1.05 prevents a lawyer from revealing or using “confidential

information” to the disadvantage of a former client. That information can be either

privileged or unprivileged. Id. 1.05(a). The information is “privileged” if it is

“protected by the lawyer-client privilege of [Texas’s rules of evidence] or by the

principles of attorney-client privilege governed by Rule 501 of the Federal Rules of

Evidence for United States Courts and Magistrates.” Id. “Unprivileged client

information” encompasses “all information relating to a client or furnished by the

2    Texas Rule 1.10(i) states that “[a] lawyer who serves as a public officer or employee of one body
     politic after having served as a public officer of another body politic shall comply with paragraphs
     (a) and (c) as if the second body politic were a private client and with paragraph (e) as if the first
     body politic were a private client.” That provision, however, does not change the fact that 1.10(c)
     refers to information about third parties. Nor does it matter in this case, as neither Mr. Hamilton
     nor Mr. Whitaker are a “public officer or employee” of the State of Texas.


                                                     4
 Case 4:21-cv-00579-P Document 95 Filed 10/27/21           Page 9 of 17 PageID 1469



client, other than privileged information, acquired by the lawyer during the course of

or by reason of the representation of the client.” Id. As with Rule 1.10, however, the

prohibition ends once “the confidential information has become generally known.” Id.

1.05(b)(3) (emphasis added).

   The ABA’s Model Rule is similar. It bars “us[ing] information relating to the

representation [of a former client] to the disadvantage of the former client except as

these Rules would permit or require with respect to a client, or when the information

has become generally known….” Model R. of Prof’l Conduct 1.9(c) (emphasis added).

   None of these rules prohibit using information “available to the public” or

“generally known,” as applicable. This makes sense. If the federal government

willingly chooses to publish information on websites for the entire world to review, to

make repeated public statements about that information, or to publish that

information in the Federal Register, the information cannot be “confidential.”

   2. There Is No Confidential Information at Issue in This Case.
   Texas filed this case to hold the Defendants to their statutory and regulatory

duties under Title 42 and 8 U.S.C. § 1222. ECF Nos. 1, 22, 46, 52, 62, 67, 89. None of

the statutes, regulations, or orders at issue in this case are “confidential information.”

The data in Texas’s filings in this case were from the Defendants’ websites, public

statements, the Federal Register, and media sources. See ECF No. 62, at ¶¶ 34–48,

54, 57, 59, 61, 64, 67, and 73. All of this information is “generally known” and

“available to the public.” Indeed, the Defendants published most of it themselves. As

the information is not confidential, neither Texas’s disciplinary rules nor the ABA’s

model rules prohibit America First Legal from using it as part of their representation

in this case.

   The Defendants nevertheless maintain that “Mr. Hamilton was provided with, or

otherwise obtained, confidential information detailing DHS’s operational policies and



                                            5
    Case 4:21-cv-00579-P Document 95 Filed 10/27/21                  Page 10 of 17 PageID 1470



practices in connection with its Title 42 activities, as well as confidential information

from CDC relevant to that agency’s Title 42 orders and decision-making process,”

thereby gaining “an insider’s knowledge of [government officials’] mental impressions

and candid evaluations of the strengths and weaknesses of the government’s legal

positions in the Title 42 area, including with respect to unaccompanied children.”

ECF No. 87 at 13-14. But this case is obviously distinguishable from those the

government cites in support of its proposition. 3

     For example, this is not a case where a former government attorney learned about

the “strengths and weaknesses” of an investigation into a private entity and then

went to work for that private entity. See United States v. Villaspring Health Care

Ctr., Inc., No. 3:11-43-DCR, 2011 WL 5330790, at *6 (E.D. Ky. Nov. 7, 2011). Nor is

it a case where a former government attorney obtained information about the

strengths and weaknesses of the government’s evidence regarding alleged tobacco

fraud and then used it in a subsequent proceeding on behalf of a tobacco company.

See United States v. Philip Morris Inc., 312 F. Supp. 2d 27, 39 (D.D.C. 2004).

     Similarly, none of the discussion regarding Mr. Hamilton’s potential participation

in other cases is relevant to the information in this case. See ECF No. 87 at 4-5. Here,

what is challenged is the federal government’s failure to follow federal law, and the

information to prove that failure is posted on the internet by the Defendants

themselves; regularly updated by the Defendants themselves; and available for the

entire world to see, courtesy of the Defendants themselves.



3    It is very hard to reconcile the Defendants’ argument to disqualify Mr. Hamilton with the
     Defendants’ argument that the entire applicable legal regime has changed from the one in place
     when he was in public service. See ECF No. 79 at 9 (“In August 2021, CDC issued a new Title 42
     order that superseded its prior October 2020 order . . . .”). If the CDC issued a new order in August
     2021, and Mr. Hamilton was clearly not a Department of Justice employee at that time, what
     alleged confidential government information could he possibly have about the August order?




                                                    6
    Case 4:21-cv-00579-P Document 95 Filed 10/27/21              Page 11 of 17 PageID 1471



     Moreover, after at least implicitly claiming that using publicly available

information on the Defendants’ websites and in the Federal Register constitutes the

use of “confidential government information,” and ignoring Texas Rule 1.10(g)’s

textual, temporal limitation of “at the time [the] rule is applied,” the Defendants

boldly assert that:

        Importantly, Texas Disciplinary Rule 1.10(c) does not require that the
        attorney actually use the confidential government information when
        working for a later client adverse to the government in order to be
        disqualified. The Texas rule requires only that the lawyer “hav[e]
        information about an entity, in which event the former government
        lawyer “may not represent a private client whose interests are adverse
        to” that entity.

ECF No. 82 at 15 (emphasis in original). This rigid application was never intended

by the rule and predictably leads to absurd results.

     The fact that Mr. Hamilton might still possess confidential government

information about other homeland security, national security, justice, or immigration

matters has no relevance. Every attorney who works for a government agency obtains

“confidential government information,” see Tex. Disciplinary R. of Prof’l Conduct

1.10(g), during that employment. The Defendants essentially argue that every former

government attorney is precluded from challenging unlawful government action—
precluded forever, if any jot of what he learned during his employment remains

unavailable to the public. That would be bad for the rule of law and bad for public

policy, which is why it is not at all envisioned by the governing rules, which govern

not the possession of confidential information but its use against a former client. 4



4    Indeed, contrary to the Defendants’ bold assertion, the ABA noted in Formal Ethics Opinion 97-
     409 that “a former government lawyer will almost always have general knowledge of policies and
     practices of her former agency, gained through employment by or representation of that agency.
     Such general knowledge would ordinarily not be considered disqualifying under Rule 1.9(c).” ABA
     Formal Ethics Op. 97-409 at n. 17.


                                                 7
 Case 4:21-cv-00579-P Document 95 Filed 10/27/21        Page 12 of 17 PageID 1472



   And the government’s position is contradicted by the ABA’s guidance. The

confidential government information described in Texas Disciplinary Rule 1.10(c)

does not include the government’s own information. See ABA Formal Ethics Op. 97-

409 at n. 7. See also Smith v. Abbott, 311 S.W.3d 62, 75-76 (Tex. App. 2010)

(describing with approval the argument that “confidential government information”

under Texas Rule 1.10(c) does not refer to the government’s own information).

   In sum, this case does not involve the use of “confidential government

information.” It challenges the Defendants’ failure to follow the law, using facts,

figures, and other information that the Defendants widely disseminate to the general

public. The Texas Rule cited does not stand for disqualification here.

B. This Case is Not the Same “Matter” for the Purposes of the Rules.
   The Defendants next argue that “the cases in which Mr. Hamilton participated as

a DOJ attorney and the instant case are the same ‘matter’ within the meaning of the

rules[,]” ECF No. 87 at 17, and therefore, prohibit Mr. Hamilton from representing

the State of Texas in this case. Here, again, the Defendants are wrong. Mr. Hamilton

has no conflict under Texas Rule 1.10(a) that would disqualify him from serving as

counsel to the State of Texas.

   1. The Governing Rules.

   Under Texas Rule 1.10(a), “a lawyer shall not represent a private client in

connection with a matter in which the lawyer participated personally and

substantially as a public officer or employee….” See also Model R. Prof’l Conduct

1.11(a). A “matter,” in turn, includes:

      (1) Any adjudicatory proceeding, application, request for a ruling or
      other determination, contract, claim, controversy, investigation, charge
      accusation, arrest or other similar, particular transaction involving a
      specific party or parties; and (2) any other action or transaction covered
      by the conflict of interest rules of the appropriate government agency.



                                          8
 Case 4:21-cv-00579-P Document 95 Filed 10/27/21         Page 13 of 17 PageID 1473



Tex. Disciplinary R. Prof’l Conduct 1.10(f) (emphasis added). Notably, it specifically

does not include “regulation-making or rule-making proceedings or assignments[.]”

Id. (emphasis added).

   Therefore, as the ABA described Model Rule 1.11, which is similar to Texas Rule

1.10:

        A former government lawyer is . . . disqualified from representing
        private clients only where she “participated personally and
        substantially as a public officer or employee” in the same “particular
        matter” at issue in the subsequent representation; she is not forbidden
        from representing private parties in matters in which she did not so
        participate, or in matters that do not involve “discrete identifiable
        transactions or conduct involving a particular situation and specific
        parties[.]”


ABA Formal Ethics Op. 97-409 at 12.

   Although not cited by the Defendants, federal regulations similarly prohibit a

former government attorney from:

        [K]nowingly, with the intent to influence, mak[ing] any communication
        to or appearance before an employee of the United States on behalf of
        any other person in connection with a particular matter involving a
        specific party or parties, in which he participated personally and
        substantially as an employee, and in which the United States is a party
        or has a direct and substantial interest.


5 C.F.R. § 2641.201(a). In turn, the regulations explain that while “particular matter

involving a specific party or parties” is described broadly in statute, “only those

particular matters that involve a specific party or parties fall within the

prohibition[.]” Id. at (h)(1). “Such a matter typically involves a specific proceeding

affecting the legal rights of the parties or an isolatable transaction or related set of

transactions between identified parties, such as a specific contract, grant, license,

product approval application, enforcement action, administrative adjudication, or


                                           9
 Case 4:21-cv-00579-P Document 95 Filed 10/27/21         Page 14 of 17 PageID 1474



court case.” Id. (emphasis added). And the prohibition “applies only to

communications or appearances in connection with the same particular matter

involving specific parties in which the former employee participated as a Government

employee.” Id. at (h)(5).

   Like the Texas Rules and the Model Rules, the federal regulations specifically

exempt “matters of general applicability.” Indeed, “[l]egislation or rulemaking of

general applicability and the formulation of general policies, standards or objectives,

or other matters of general applicability are not particular matters involving specific

parties.” Id. at (h)(2).

   2. This Case is Not the Same “Matter.”
   None of the individual cases Mr. Hamilton previously advised on are the same

“matter” for the purposes of Rule 1.10(f).

   First, this is not one of the individual cases that arose during his time at the

Department of Justice and cited by the Defendants. See ECF No. 87 at 3-4 (citing

J.B.B.C. v. Wolf, No. 20-CV-1509 (D.D.C.); P.J.E.S. v. Wolf, No. 20-CV-2245 (D.D.C.);

Tex. Civil Rights Project v. Wolf, 1:20-cv-02035 (D.D.C.); G.Y.J.P v. Wolf, 1:20-cv-

01511 (D.D.C.); and Flores v. Barr, No. CV-85-4544 (C.D. Cal.)). Second, this is the

first case in which a State has challenged the Defendants’ compliance (or lack thereof)

with their own laws and policies related to Title 42 or 8 U.S.C. § 1222. To the extent
that the issues in this case overlap with those in the enumerated cases, it is not due

to confidential information peculiar to each case; it is because they require applying

and interpreting the same underlying legal authorities. The Defendants cite no

authority for the proposition this is sufficient to disqualify—and the Texas authorities

establish that it is not. See In re Drake, 195 S.W.3d 232, 236-237 (Tex. App. 2006, pet.

denied) (interpreting parallel language in Rule 1.09).




                                             10
    Case 4:21-cv-00579-P Document 95 Filed 10/27/21           Page 15 of 17 PageID 1475



     Similarly, the Defendants did not attempt to justify their position based upon very

similar federal regulations defining a “particular matter.” See generally 5 C.F.R.

§ 2641.201. Nor could they: their own regulations do not define “particular matter” to

encompass every single case involving the same generally applicable laws in

perpetuity.

     The Defendants’ position is contrary to common sense. At bottom, that disputes

concern the same underlying laws is not enough. That disputes involve the same

government agency or agencies against different parties does not turn them into the

same “matter.” An attorney who formerly handled Clean Water Act issues for the

Environmental Protection Agency is not generally barred from handling Clean Water

Act issues for private clients. An attorney who handled voting-rights issues with

DOJ’s Civil Rights Division is not generally barred from handling voting-rights issues

in private practice. And an attorney who advised on immigration lawsuits or the

development of policies or regulations while at DOJ is not generally barred from

challenging DHS’s compliance with federal law. 5

C. Even if a Conflict Existed, the Remedy Would Involve Screening Mr.
   Hamilton From Participation in the Case—Not Disqualification of Mr.
   Whitaker or America First Legal.
     The Defendants assert, without any supporting legal authority, that “[a]ll America

First Legal Foundation attorneys, including Mr. Whitaker, should be disqualified

from representing Texas in this case.” ECF No. 87 at 20-21. Here, again, the

Defendants are wrong.

     There is no reason for Matt Whitaker or anyone else from America First Legal to

be precluded from being on this case under the plain language of the applicable rules.



5    This is particularly so when the applicable rules expressly foreclose their application to
     “regulation-making or rule-making proceedings or assignments[.]” See Tex. Disciplinary R.
     Prof’l Conduct 1.10(f) (emphasis added).


                                              11
 Case 4:21-cv-00579-P Document 95 Filed 10/27/21         Page 16 of 17 PageID 1476



See Tex. Disciplinary R. of Prof’l Conduct 1.10(b) (stating, in the context involving

prior work on the same matter, that lawyers from the same firm cannot “undertake

or continue representation” unless the conflicted lawyer “is screened from any

participation in the matter and is apportioned no part of the fee therefrom.”); id. R.

1.10(d) (stating, in the context of a situation involving confidential government

information, “a firm may undertake or continue representation in that matter only if

that disqualified lawyer is screened from any participation in the matter and is

apportioned no part of the fee therefrom.”). As the rules indicate, even if Mr. Hamilton

did have a conflict that would result in his disqualification from this case, the proper

remedy would be for Mr. Hamilton to be screened from continued participation in the

case under Texas Rules 1.10(b) or (d).

                                     Conclusion
   For all of the reasons provided above, the Court should deny the Defendants’

Motion.

Dated October 27, 2021.                  Respectfully submitted,
KEN PAXTON                               AARON F. REITZ
Attorney General of Texas                Lead Counsel
                                         Deputy Attorney General for Legal Strategy
BRENT WEBSTER                            Texas Bar No. 24105704
First Assistant Attorney General         aaron.reitz@oag.texas.gov
                                         LEIF A. OLSON
OFFICE OF THE ATTORNEY GENERAL           Special Counsel
P.O. Box 12548                           Texas Bar No. 24032801
Austin, Texas 78711-2548                 leif.olson@oag.texas.gov
(512) 936-1700
                                         /s/ Matthew G. Whitaker
                                         MATTHEW G. WHITAKER
                                         Admitted pro hac vice
                                         America First Legal Foundation
                                         300 Independence Avenue SE



                                          12
Case 4:21-cv-00579-P Document 95 Filed 10/27/21   Page 17 of 17 PageID 1477



                                  Washington, D.C. 20003
                                  (202) 964-3721
                                  info@aflegal.org

                                  Counsel for the State of Texas




                                    13
